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                                           1   LARSON & ZIRZOW, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           2   Nevada Bar No. 7787
                                               E-mail: zlarson@lzlawnv.com
                                           3
                                               MATTHEW C. ZIRZOW, ESQ.
                                           4   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzlawnv.com
                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6   Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169

                                           8   Attorneys for Debtor

                                           9                               UNITED STATES BANKRUPTCY COURT
                                                                                  DISTRICT OF NEVADA
                                          10

                                          11   In re:                                                         Case No. 22-14616-nmc
                                                                                                              Chapter 7
                                          12   ROBIN LINUS LEHNER and
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               DONYA TINA LEHNER,
                                          13
       LARSON & ZIRZOW, LLC




                                                                         Debtors.
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14

                                          15                           SUPPLEMENTAL CERTIFICATE OF SERVICE
                                          16            1.     On the 13th day of January, 2023, I served the following document:
                                          17                   a.        Notice of Chapter 7 Bankruptcy Case                                 ECF No. 4
                                          18
                                                        2.     I served the above-named document by the following means to the persons as
                                          19
                                               listed below:
                                          20
                                                               a.       ECF System:
                                          21

                                          22                   b.       United States mail, postage fully prepaid:

                                          23                            To the parties on the attached mailing matrix.

                                          24                   c.       Personal Service:
                                          25
                                                               I personally delivered the document(s) to the persons at these addresses:
                                          26
                                                                         For a party represented by an attorney, delivery was made by handing the document(s) at
                                          27                   the attorney’s office with a clerk or other person in charge, or if no one is in charge by leaving the
                                                               document(s) in a conspicuous place in the office.
                                          28
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                                           1                         For a party, delivery was made by handling the document(s) to the party or by leaving the
                                                            document(s) at the person’s dwelling house or usual place of abode with someone of suitable age
                                           2                and discretion residing there.
                                           2
                                           3                d.       By direct email:
                                           3
                                           4                Based upon the written agreement of the parties to accept service by email or a court order, I
                                           4
                                                            caused the document(s) to be sent to the persons at the email addresses listed below. I did not
                                           5                receive, within a reasonable time after the transmission, any electronic message or other indication
                                           5
                                                            that the transmission was unsuccessful.
                                           6
                                           6
                                                            e.       By fax transmission:
                                           7
                                           7
                                                            Based upon the written agreement of the parties to accept service by fax transmission or a court
                                           8                order, I faxed the document(s) to the persons at the fax numbers listed below. No error was
                                           8
                                                            reported by the fax machine that I used. A copy of the record of the fax transmission is attached.
                                           9
                                           9
                                                            f.       By messenger:
                                          10
                                          10
                                                            I served the document(s) by placing them in an envelope or package addressed to the persons at
                                          11                the addresses listed below and providing them to a messenger for service. (A declaration by the
                                          11
                                                            messenger must be attached to this Certificate of Service)
                                          12
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                 I declare under penalty of perjury that the foregoing is true and correct.
                                          13
                                          13
       LARSON & ZIRZOW, LLC




                                                 Dated this 13th day of January, 2023.
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14
                                          15
                                          15
                                                 Trish Huelsman                                          /s/ Trish Huelsman
                                          16     (Name of Declarant)                                     (Signature of Declarant)
                                          16
                                          17
                                          17
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                                                                                     Clark County Treasurer
Robin Linus Lehner                         Internal Revenue Service
                                                                                     c/o Bankruptcy Clerk
Donya Tina Lehner                          Attn: Bankruptcy Dept/Managing Agent
                                                                                     500 S. Grand Central Pkwy
9501 Balatta Canyon Ct.                    P.O. Box 7346
                                                                                     P.O. Box 551220
Las Vegas, NV 89144                        Philadelphia, PA 19101
                                                                                     Las Vegas, NV 89155


Clark County Assessor
                                           Dept. of Empl, Training & Rehab           Nevada Dept. of Taxation
c/o Bankruptcy Clerk
                                           Employment Security Division              Bankruptcy Section
500 S. Grand Central Pkwy
                                           500 East Third Street                     555 E. Washington Avenue #1300
Box 551401
                                           Carson City, NV 89713                     Las Vegas, NV 89101
Las Vegas, NV 89155


Social Security Administration
                                           American Express                          Amex
Office of the Regional Chief Counsel
                                           Attn: Bankruptcy Dept. / Managing Agent   Correspondence/Bankruptcy
Region IX
                                           P.O. Box 96001                            Po Box 981540
160 Spear Street, Ste. 800
                                           Los Angeles, CA 90096-8000                El Paso, TX 79998
San Francisco, CA 94105-1545


Anne Meade                                                                           Bank of America
                                           ASLA Capital LLC
c/o Harris Beach, PLLC                                                               Attn: Bankruptcy
                                           Attn: Alfonso G. Soriano
Attn: Frank Muggia, Esq.                                                             4909 Savarese Circle
                                           200 S. Biscayne Blvd., Ste. 4100
726 Exchange Street, Suite 1000                                                      Tampa, FL 33634
                                           Miami, FL 33131
Buffalo, NY 14210


                                                                                     Bridge Energy Sports, LLC
Black Knight Sports & Entmt, LLC           Bredan, LLC
                                                                                     Attn: Leon Muhammad
Attn: Chiep Siegel, CLO                    Attn: Daniel L. Gelb, Manager
                                                                                     7400 South Stony Island
1701 Village Center Circle                 9617 Oak Ridge Trail
                                                                                     Chicago, IL 60649
Las Vegas, NV 89134                        Hopkins, MN 55305


Bryan Cave Leighton Paisner, LLP           Byzfunder NY LLC
One Metropolitan Square                    Attn: Bankr. Dep't/Managing Agt.
211 N. Broadway, Suite 3600                263 W. 38th Street, 13th Floor
Saint Louis, MO 63102-2750                 New York, NY 10018


                                                                                     David M. Herrera
Citadel Servicing Corp.
                                           Commercial Capital BIDCO, Inc.            c/o Chuhak & Tecson
dba ACRA Lending
                                           Attn: Terry Luker, as Reg. Agt.           Attn: Kevin Coyne, Esq.
Attn: Bankruptcy Dept/Managing Agent
                                           133 Holiday Ct., Suite 207                120 S. Riverside Plz, Suite 1700
25531 Commercentre Dr., Ste. 160
                                           Franklin, TN 37067                        Chicago, IL 60606-3911
Forest, CA 92361


Derrick Bushman & Sanjay Patel                                                       Digital Asset Redemption, LLC
                                           Deutsche Bank Luxembourg S.A.
c/o Messerli Kramer                                                                  Attn: Matthew Leidlein, Director
                                           2, Boulevard Konrad Adenauer
Attn: Brett Larson, Esq.                                                             318 W Adams St., 10th Floor
                                           L - 1115
100 South Fifth Street                                                               Chicago, IL 60606
                                           LUXEMBOURG
Minneapolis, MN 55402


DMC Financing, LLC                         Dr. Michael Parentis                      Dr. Michael Vazquez
Attn: Clark A. Gassen, Manager             c/o WNY Knee & Ortho. Surg., PC           c/o Venous Institute of Buffalo
1907 Wayzata Blvd. Ste. 180                3085 Southwestern Blvd., # 203            4927 Main Street, Suite 400
Wayzata, MN 55391                          Orchard Park, NY 14127                    Buffalo, NY 14226



Dynasty Capital 26 LLC                     Eclipse Service, Inc.                     Gerald M. Thompson
Attn: Legal Department                     c/o Steven P. Hribar                      1827 Grant St., #503
96-14 Metropoloitan Ave., 2nd Fl.          1509 N. Prospect Ave.                     Denver, CO 80203
Forest Hills, NY 11375                     Milwaukee, WI 53202
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                                                                                  James Kirchmeyer
Heritage Bank of the Ozarks                Jackson Lending, LP
                                                                                  Rupp Baase, et al., LLC
Attn: Bankr. Dep't/Manag. Agt.             Attn: Bankr. Dept/Managing Agt.
                                                                                  Attn: Matthew Miller, Esq.
1475 S. Jefferson Ave.                     3220 W. 98th St., Ste 201
                                                                                  Buffalo, NY 14202
Lebanon, MO 65536                          Evergreen Park, IL 60805


                                                                                  Jonas Hagerback
JHB Collective, LLC                        John Hochbaum
                                                                                  c/o IMH Finans
Attn: Joshua Buchwald, Manager             c/o ICS Funding
                                                                                  Kommendörsgatan
1480 NW 48th Lane                          3759 North Wayne Ave. 1W
                                                                                  25, 114 48 Stockholm
Boca Raton, FL 33431                       Chicago, IL 60613
                                                                                  SWEDEN


Jonathan Morris
                                           JRG Living Trust dtd 10/19/16          Legacy Capital Group, LLC
c/o AJ Trucking, LLC
                                           John & Robin Grant, Trustees           Attn: Josh Greenblatt
23 N. Wabash Ave.
                                           11447 Opal Springs Way                 77 Water St.
Chicago, IL 60602
                                           Las Vegas, NV 89135                    New York, NY 10004


Leon Muhammad
                                           Marc Rosenthal                         Marquis Aurbach
c/o Bridge Energy Sports, LLC
                                           c/o Morris L. Horwitz, Esq.            Attn: Managing Member
7400 South Stony Island
                                           P.O. Box 716                           10001 Park Run Dr.
Chicago, IL 60649
                                           Getzville, NY 14068                    Las Vegas, NV 89145


Merle Whitehead
c/o Rupp Baase, et al., LLC                Metro Park LLC                         Midland Holdings, LLC
Attn: Matthew Miller, Esq.                 Attn: Bryan Schroeder                  Attn: Bankr. Dept/Managing Agt.
424 Main St.                               1000 S. Hamlin Ave.                    514 Abbey Way
Buffalo, NY 14202                          Park Ridge, IL 60068                   Mendota Heights, MN 55120


                                           Newport Sports Management, Inc.
Milos Andric                                                                      Paypal Business Loan
                                           Attn: Craig Oster
Gabelsgatan 25A                                                                   c/o Swift Financial, LLC
                                           201 City Centre Drive, Suite 400
0272 Oslo                                                                         Attn: Managing Member
                                           Mississauga, Ontario L5B 2T4
NORWAY                                                                            3505 Silverside Rd.
                                           CANADA
                                                                                  Wilmington, DE 19810

                                                                                  Roger Gilholm
                                           RMSPC Funding, LLC
Putnam Leasing Co I, LLC                                                          c/o Gunnars Maskiner AB
                                           c/o RainMaker Holding Group, LLC
Attn: Bankruptcy Dep't                                                            Trollhättevägen 34
                                           Attn: Manager/Bankruptcy Dep't
500 West Putnam Ave., 4th Fl.                                                     442 34 Kungälv
                                           13 Arcadia Rd. 2
Greenwich, CT 06830                                                               SWEDEN
                                           Old Greenwich, CT 06870


                                           SuperNova Eighty Seven LLC
South River Capital LLC                                                           Sure Sports Lending, LLC
                                           c/o Basran Law Office
Attn: Jim Plack                                                                   c/o Leon C. McKenzie, President
                                           Attn: Sandeep Basran
1 Park Place, Suite 540                                                           2116 Hollywood Blvd., Suite 116
                                           2543 N. Milwaukee Ave., 2nd Flr.
Annapolis, MD 21401                                                               Hollywood, FL 33020
                                           Chicago, IL 60647

                                                                                  Taurus LLC
Taurus II LLC                              Taurus III LLC
                                                                                  c/o Basran Law Office
c/o Basran Law Office                      c/o Basran Law Office
                                                                                  Attn: Sandeep Basran
Attn: Sandeep Basran                       Attn: Sandeep Basran
                                                                                  2543 N. Milwaukee Ave., 2nd Flr.
2543 N. Milwaukee Ave., 2nd Flr.           2543 N. Milwaukee Ave., 2nd Flr.
                                                                                  Chicago, IL 60647
Chicago, IL 60647                          Chicago, IL 60647

                                                                                  Advokatfirman Helios
Taurus VII LLC
                                           Zachary Williams                       Attn: Clas Jörgensen
c/o Basran Law Office
                                           330 Nepean St.                         Stockholmskontor, Garvargatan 5
Attn: Sandeep Basran
                                           Ottowa, Ontario K1R 5G6                112 21 Stockholm
2543 N. Milwaukee Ave., 2nd Flr.
                                           CANADA                                 SWEDEN
Chicago, IL 60647
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Advokatfirman Titov & Partners KB                                                   Aliya Growth Funds LLC - Series X
                                             Aliya Capital Partners, LLC
Attn: Jonas Edwards                                                                 Attn: Bankruptcy Dep't/Manager
                                             Attn: Ross Kestin, CEO
Humlegårdsgatan 20                                                                  1450 Brickell Ave., Suite 2600
                                             1450 Brickell Ave., Suite 2600
114 46 Stockholm Sverige                                                            Miami, FL 33131
                                             Miami, FL 33131
SWEDEN


                                                                                    American Express
Ally Financial                               Ally Financial
                                                                                    Attn: Bankruptcy/Legal Dep't
Attn: Bankruptcy Dep't/Manager               Attn: Bankruptcy Dep't/Manager
                                                                                    P.O. Box 98535
200 Renaissance Center                       500 Woodard Ave.
                                                                                    El Paso, TX 79998-1535
Detroit, MI 48243                            Detroit, MI 48226


                                                                                    ASLA Capital, LLC
American Express                             Arizona Department of Revenue
                                                                                    c/o Kiley Robbins
Attn: Bankruptcy Department                  Attn: Bankruptcy Dept/Managing Agent
                                                                                    2116 Hollywood Bvd. #116
P.O. Box 981537                              PO Box 29010
                                                                                    Hollywood, FL 33020
El Paso, TX 79998                            Phoenix, AZ 85038-9010


Balanced Bridge Funding III, LLC                                                    Bank of America, N.A.
                                             Bank of America, N.A.
c/o Corporation Service Co.,                                                        Attn: Bankruptcy Dep't
                                             Attn: Bankruptcy Dep't
as Registered Agent                                                                 P.O. Box 15284
                                             P.O. Box 25118
251 Little Falls Drive                                                              Wilmington, DE 19850
                                             Tampa, FL 33622-5118
Wilmington, DE 19808


                                                                                    BDO USA, LLP
Bank of America, N.A.                        Barclays Bank/Old Navy
                                                                                    Attn: Bankr. Dep't/Managing Agt.
Attn: Bankruptcy Dep't                       Attn: Bankrutpcy Dep't
                                                                                    330 N. Wabash Ave., Suite 3200
4909 Saverese Circle                         P.O. Box 965060
                                                                                    Chicago, IL 60611
Tampa, FL 33634                              Orlando, FL 32896


                                             Bredan, LLC                            Byzfunder NY LLC
Black Knight Sports & Entm't, LLC
                                             c/o Leland Conners, PLLC               Attn: Bankr. Dept/Managing Agt.
Attn: Chip Seigel III, CLO
                                             Attn: Ryan T. Conners, Esq.            530 7th Ave., Suite 505
1701 Village Center Cir.
                                             60 S. Sixth St., Suite 2800            New York, NY 10018
Las Vegas, NV 89134
                                             Minneapolis, MN 55402


C6 Capital Funding, LLC                                                             California Dept of Tax and Fee Admin.
                                             C6 Capital Funding, LLC
c/o Registered Agents, Inc.                                                         Account Information Group, MIC: 29
                                             Attn: Andrew Fellus
as Registered Agent                                                                 P.O. Box 942879
                                             90 Broad St., Suite 16
881 Baxter Dr., Suite 100                                                           Sacramento, CA 94279-0029
                                             New York, NY 10004
South Jordan, UT 84095


Canada Revenue Agency                        CAP Minnesota, LLC
Attn: Bankruptcy Dep't                       c/o Messerli Kramer                    City National Bank
555 Mackenzie Ave.                           Attn: Brett Larson, Esq.               10801 W Charleston Blvd.
Ottawa, Ontario K1N 1K4                      100 S. Fifth St.                       Las Vegas, NV 89135
CANADA                                       Minneapolis, MN 55402

                                                                                    Commercial Capital BIDCO, Inc.
Colorado Department of Revenue               Commercial Capital BIDCO, Inc.         c/o Cramer, Multhauf & Hammes, LLP
Attn: Managing Agent                         Attn: Bankr. Dep't/Managing Agt.       Attn: Daniel J. Habeck, Esq.
1375 Sherman St.                             133 Holiday Ct., Suite 207             1601 E. Racine Ave., Suite 200
Denver, CO 80261                             Franklin, TN 37067                     Waukesha, WI 53186


Commercial Capital BIDCO, Inc.                                                      Counsel for Spanish Speaking, Inc.
                                             Community Bank, N.A.
c/o Cramer, Multhauf & Hammes, LLP                                                  Attn: John YingLing, CEO
                                             Attn: Bankrutpcy Dep't/Manager
Attn: Daniel Habeck, Esq.                                                           614 W. National Ave.
                                             P.O. Box 509
1601 E. Racine Ave., Suite 200                                                      Milwaukee, WI 53204
                                             Canton, NY 13617
Waukesha, WI 53186
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                                                                                  Deutsche Bank Luxembourg S.A.
Croft & Frost                               David Cooper                          c/o Morgan, Lewis & Bockius LLP
Attn: Paul T. Croft                         c/o C6 Capital, LLC                   Attn: Michael S. Kraut, Esq.
1000 W Lake St., Suite 200                  315 E 62nd St, 3rd Floor              101 Park Ave.
Chicago, IL 60607                           New York, NY 10065                    New York, NY 10178


                                                                                  Dynasty Capital
Digital Asset Redemption, LLC               DMC Financing, LLC
                                                                                  Attn: Bankruptcy Dept/Managing Agent
c/o Matthew Leidlin, Reg. Agent             c/o Registered Agent
                                                                                  96-14 Metropolitan Ave.
744 N Wells St., 3rd Floor                  13911 Ridgedale Dr., #125
                                                                                  Forest Hills, NY 11375
Chicago, IL 60654                           Hopkins, MN 55305


                                            East West Bank                        Eclipse Service, Inc.
Dynasty Capital
                                            Attn: Bankruptcy Dep't                Attn: Steven Hribar, Res. Agt.
11 Broadway
                                            135 N. Los Robles Ave., 7th Fl.       10031 S. Woodside Ct.
New York, NY 10004
                                            Pasadena, CA 91101                    Franklin, WI 53132



Eclipse Service, Inc.
                                            Exceptional Risk Advisors, LLC        Gerald M. Thompson
c/o O'Neil, Cannon, Hollman, et al.
                                            Attn: Bankr. Dep't/Managing Agent     6925 E. Tennessee Ave., Suite 410
Attn: Greg W. Lyons, Esq.
                                            One International Blvd., #750         Denver, CO 80224
111 E. Wisconsin Ave., Suite 1400
                                            Mahwah, NJ 07495
Milwaukee, WI 53202


Harris Beach PLLC                           Houkar Rashid                         Iguanaland
Attn: Frank Muggia, Esq.                    Föreningsgatan 34                     Attn: Ty Park
Larkin at Exchange                          411 27 Goteburg                       33900 Bermont Rd.
726 Exchange St., Suite 1000                Lägenhetsnummer 1303                  Punta Gorda, FL 33982
Buffalo, NY 14210                           SWEDEN


                                            Jackson Lending, LP                   James Kirchmeyer
Illinois Dep't of Revenue
                                            c/o Jackson Lending GP, LLC           c/o Harris Beach, PLLC
Attn: Bankruptcy Section
                                            Attn: Nicholas C. Zagotta             Attn: Frank Muggia, Esq.
P.O. Box 19016
                                            9927 S. Sawyer Ave.                   726 Exchange St., Suite 1000
Springfield, IL 62794-9016
                                            Evergreen Park, IL 60805              Buffalo, NY 14210


                                            JHB Collective, LLC
James Kirchmeyer                                                                  John Hochbaum
                                            c/o Kotzker Shamy
c/o Real Info, Inc.                                                               2821 N. Halstead St., Unit 2
                                            Attn: Tina El Fadel, Esq.
701 Seneca St, Suite 641                                                          Chicago, IL 60657
                                            2424 N. Federal Hwy, Suite 200
Buffalo, NY 14210
                                            Boca Raton, FL 33431


                                            Jonathan Morris
                                                                                  Joseph Coppola
John Hochbaum                               c/o Mon Ami Realty
                                                                                  11 Highbrook Ct.
3759 N. Wayne Ave.                          Attn: Patrick Lockman, as Reg. Agt.
                                                                                  Orchard Park, NY 14127
Chicago, IL 60613                           17 N Wabash Ave., # 620
                                            Chicago, IL 60602


                                            Joshua Buchwald
                                                                                  K&L Gates LLP
                                            c/o Kotzker Shamy
                                                                                  Attn: Ketajh M. Brown, Esq.
                                            Attn: Tina El Fadel
                                                                                  70 W. Madison St., Suite 3300
                                            2424 N. Federal Hwy, Suite 200
                                                                                  Chicago, IL 60602
                                            Boca Raton, FL 33431


Legacy Capital Group, LLC                   Lehner Enterprises, LLC               Leon Muhammad
Attn: Josh Greenblatt                       Attn: Robin Lehner                    c/o Bridge Energy Sports, LLC
96-14 Metropolitan Ave., 2nd Fl.            9501 Balatta Canyon Ct.               1212 E 63rd St
Forest Hills, NY 11375                      Las Vegas, NV 89144                   Chicago, IL 60637
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Lewis Roca Rothgerber & Christie            Manteau Downes, LLP                   Massachusetts Dep't of Revenue
Attn: Kristen Martini, Esq.                 Attn: Patrick Downes, Esq.            Attn: Bankr. Dep't/Managing Agt.
One East Liberty Street                     10100 Santa Monica Blvd., #300        100 Cambridge St., 2nd Floor
Reno, NV 89501-2128                         Los Angeles, CA 90067                 Boston, MA 02114


Merle Whitehead
                                            Merle Whitehead                       Metro Park, LLC
c/o Harris Beach, PLLC
                                            c/o Howard Hanna                      c/o Jody Padar, as Reg. Agent
Attn: Frank Muggia, Esq.
                                            6505 E Quaker St                      200 E. Evergreen Ave., Suite 130
726 Exchange Street, Suite 1000
                                            Orchard Park, NY 14127                Mount Prospect, IL 60056
Buffalo, NY 14210


                                            Michael Parentis
Michael Lehner                              c/o Harris Beach, PLLC                Michael Parentis, M.D.
4636 E. University Dr,, Suite 150,          Attn: Frank Muggia, Esq.              6380 Heise Rd.
Phoenix, AZ 85034                           726 Exchange Street, Suite 1000       Clarence Center, NY 14032-9372
                                            Buffalo, NY 14210


Michael Vasquez
                                                                                  Minnesota Dept. of Revenue
c/o Harris Beach, PLLC                      Michael Vasquez, M.D.
                                                                                  Attn: Bankr. Dept./Managing Agt.
Attn: Frank Muggia, Esq.                    4927 Main Street, Suite 400
                                                                                  600 N. Robert St.
726 Exchange Street, Suite 1000             Buffalo, NY 14226
                                                                                  Saint Paul, MN 55101
Buffalo, NY 14210


                                                                                  National Hockey League
Missouri Dept. of Revenue                   Montana Dept. of Revenue
                                                                                  Attn: Legal Department
Attn: Bankruptcy/Managing Agent             Attn: Bankr. Desk/Managing Agent
                                                                                  1 Manhattan West
301 W. High St.                             PO Box 6309
                                                                                  395 Ninth Ave.
Jefferson City, MO 65101                    Helena, MT 59604-6309
                                                                                  New York, NY 10001


                                            New York Dep't of Taxation            Newport Sports Management, Inc.
New Jersey Div. of Taxation
                                            Attn: Bankruptcy Department           Atn: Craig Oster
Attn: Bankruptcy Section
                                            Civil Enforecment Division            201 City Centre Dr., Suite 400
P.O. Box 245
                                            WA Harriman Campus                    Mississauga, Ontario L5B 2T4
Trenton, NJ 08695-0245
                                            Albany, NY 12227-0001                 CANADA


NHL Player's Association                    Paul T. Croft
                                                                                  Paul T. Croft
Attn: Legal Department                      c/o Kennedy & Couvillier
                                                                                  c/o Croft & Frost, LLC
10 Bay Street, Suite 1200                   Attn: Todd E. Kennedy, Esq.
                                                                                  1413 Chestnut St, Suite 401
Toronto, ON M5J 2R8                         3271 E. Warm Springs Rd.
                                                                                  Chattanooga, TN 37402
CANADA,                                     Las Vegas, NV 89120


                                                                                  Phillips Lionite Wood Prods Co LLC
Phillips Lionite Wood Prod. Pl. LLC
                                            Phillips Lionite Wood Prods Co LLC    c/o Stephen D. Willet, as Reg. Agt.
c/o Ken A. Martin, as Reg. Agent
                                            115 Depot Rd.                         106 Beebe St.
115 Depot Rd.
                                            Phillips, WI 54555                    P.O. Box 89
Phillips, WI 54555-1354
                                                                                  Phillips, WI 54555-0089


Pinnacle Settlements                        RL Exotics, LLC
                                                                                  RL Exotics, LLC
Attn: Scott B. Goldschein, Esq.             c/o Accumera LLC, as Reg. Agent
                                                                                  42055 Dawn Rd.
9711 Washingtonian Blvd., Suite 201         3500 S. DuPont Hwy.
                                                                                  Plato, MO 65552
Gaithersburg, MD 20878                      Dover, DE 19901



RL Solar, LLC                               RMSPC Funding, LLC                    RMSPC Funding, LLC
c/o Accumera LLC, as Reg. Agent             c/o Cogency Global, as Reg. Agt.      c/o Sure Sports
3500 S. DuPoint Hwy.                        850 New Burton Rd., Suite 201         2116 Hollywood Blvd.
Dover, DE 19901                             Dover, DE 19904                       Hollywood, FL 33020
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RMSPC Funding, LLC                          Roger Gilholm
                                                                                   ROI Financial Group
c/o Mahadeva, PLLC                          c/o Gunnars Maskiner AB
                                                                                   Attn: Marc I. Rosenthal
Attn: P. Mahadeva, Esq.                     Handvävargatan 9B
                                                                                   7 Limestone Drive
80 Business Park Dr., Suite 201             507 30 Brämhult
                                                                                   Williamsville, NY 14221
Armonk, NY 10504                            SWEDEN,


                                            Sanjay Patel
S.E. Turner & Assocs., Ltd.                                                        Snaps Holding Company
                                            c/o Messerli Kramer
Attn: Shane Turner                                                                 Attn: Sanjay Patel
                                            Attn: Brett M. Larson, Esq.
621 S. Waiola Ave.                                                                 16 S. 16th St., Suite 200
                                            100 South Fifth Street
La Grange, IL 60525                                                                Fargo, ND 58106
                                            Minneapolis, MN 55402


                                            Snaps Holdings                         Snaps Holidng Company
Snaps Holding Company
                                            c/o Messerli Kramer                    c/o Minn. Hospitality, Inc., as Reg. Agt
Attn: Sanjay Patel
                                            Attn: Brett M. Larson, Esq.            16 S 16th St., Suite 200
P.O. Box 9495
                                            100 South Fifth Street                 P.O. Boz 9495
Fargo, ND 58106-9495
                                            Minneapolis, MN 55402                  Fargo, ND 58106-9495


SolarCode Holdings, LLC                                                            SolarCode North America, LLC
                                            SolarCode Management, LLC
c/o Nw. Registered Agt. Serv., Inc.                                                c/o Bergin, Frakes, Smalley, et al.
                                            c/o Nw. Registered Agt. Serv., Inc.
as Registered Agent                                                                Attn: Michael Smalley, Esq.
                                            8 The Green, Suite B
8 The Green, Suite B                                                               4343 E. Camelback Rd., Suite 210
                                            Dover, DE 19901
Dover, DE 19901                                                                    Phoenix, AZ 85018


SolarCode, LLC                              SolarCode, LLC
                                                                                   SolarCode, LLC
c/o Michael Borden                          c/o Tina West, as Reg. Agent
                                                                                   c/o Accumera LLC, as Reg. Agent
102 Cassia Way                              102 Cassia Way
                                                                                   3500 S. DuPont Hwy.
Las Vegas, NV 89144                         Henderson, NV 89014
                                                                                   Dover, DE 19901


SolarCode, LLC                              South River Capital, LLC               South River Capital, LLC
Attn: Michael Lehner                        Attn: Bankr. Dep't/Managing Agt.       Attn: James Plack
4636 E. University Dr., Suite 150           1 Park Place, Ste. 540                 1500 Wild Cranberry Dr.
Phoenix, AZ 85034                           Annapolis, MD 21401                    Crownsville, MD 21032


                                                                                   Summerlin North Comm. Ass'n
South River Capital, LLC                    Steve Yahnke
                                                                                   c/o Leach Kern Gruchow, et al.
c/o James Plack, as Reg. Agent              c/o TKO Miller
                                                                                   Attn: Kirby C. Gruchow, Esq.
1500 Wild Cranberry Dr.                     788 N.Jefferson St. Suite 550
                                                                                   2525 Box Canyon Dr.
Crownsville, MD 21032                       Milwaukee, WI 53202
                                                                                   Las Vegas, NV 89128


                                                                                   Sure Sports Lending, LLC
SuperNova Eighty Seven LLC                  Sure Sports Lending
                                                                                   c/o Heitner Legal, PLLC
c/o Corporation Service Co.                 c/o Leon C. McKenzie, President
                                                                                   Attn: Darren Heitner, Esq.
as Registered Agent                         2116 Hollywood Blvd.
                                                                                   215 Hendricks Isle
Wilmington, DE 19808                        Hollywood, FL 33020
                                                                                   Fort Lauderdale, FL 33301-3706


Sure Sports Lending, LLC                    Taurus II, LLC
                                                                                   Taurus II, LLC
c/o Focus 9 Enterprises, LLC,               c/o Kennedy & Couvillier
                                                                                   c/o Paul T. Croft
as Registered Agent                         Attn: Todd E. Kennedy, Esq.
                                                                                   375 Jackson St., Suite 700E
2728 Enterprise Rd., Suite 230              3271 E. Warm Springs Rd.
                                                                                   St Paul, MN 55101
Orange City, FL 32763                       Las Vegas, NV 89120


                                            Taurus III, LLC
                                                                                   Taurus III, LLC
                                            c/o Kennedy & Couvillier
                                                                                   c/o Paul T. Croft, as Reg. Agent
                                            Attn: Todd E. Kennedy, Esq.
                                                                                   375 Jackson St., Suite 700E
                                            3271 E. Warm Springs Rd.
                                                                                   St Paul, MN 55101
                                            Las Vegas, NV 89120
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Taurus LLC                                                                              Taurus VII, LLC
                                             Taurus LLC
c/o Kennedy & Couvillier                                                                c/o Kennedy & Couvillier
                                             c/o Paul T. Croft, as Reg. Agent
Attn: Todd E. Kennedy, Esq.                                                             Attn: Todd E. Kennedy, Esq.
                                             375 Jackson St., Suite 700E
3271 E. Warm Springs Rd.                                                                3271 E. Warm Springs Rd.
                                             St Paul, MN 55101
Las Vegas, NV 89120                                                                     Las Vegas, NV 89120


Taurus VII, LLC                                                                         The Goldschein Law Firm, PC
c/o Paul T. Croft                                                                       Attn: Scott B. Goldschein, Esq.
375 Jackson St., Suite 700E                                                             9711 Washintonian Blvd., Suite 201
St Paul, MN 55101                                                                       Gaithersburg, MD 20878



UBS Financial Services, Inc.                 UBS Financial Services, Inc.               Vegas Golden Knights
Attn: Bankr. Dep't/Managing Agent            c/o Corporation Serv. Co., as Reg. Agent   Attn: Chip Seigel III, CLO
1200 Harbor Blvd.                            112 N. Curry St.                           1550 S. Pavilion Center Dr.
Weehawken, NJ 07086                          Carson City, NV 89703                      Las Vegas, NV 89135



Webbank/Fingerhut                            Westridge Property Mgmt, LLC
Attn: Bankruptcy Dep't                       c/o Northwest Registered Agt. Serv., Inc
6520 Ridgewood Rd.                           8 The Green, Suite B
Saint Cloud, MN 56303                        Dover, DE 19901
